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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Index No 20-CV-1773
Sylwia Ewelina Madej Manchanda,
Plaintiff, COMPLAINT

-against-

Immigration Services Officer Lewis,

Defendant.

Plaintiff, Sylwia Ewelina Made} Manchanda, for its Complaint

against Defendant Immigration Services Officer Lewis alleges:

fl rg Plaintiff, at all times relevant hereto, lives on the Upper West

Side in New York, New York 10019.

2. Defendant works at the USCIS Field Office located at 26 Federal

Plaza, Room 7-700, New York, New York 10278.

3s This complaint concerns the racist, harassing, threatening,
intimidating, illegal, unlawful, dishonest, unfair, fraudulent,
tyrannical, corrupt, and incompetent behavior of the above
referenced Defendant Immigration Services Officer Lewis acting in
contravention of 42 § 1983 regarding a civil action for
deprivation of rights of the Plaintiff, and then when lawful
timely bona fide complaints against her behavior were made by

Plaintiff with the relevant civil rights departments at the U.S.
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Department of Justice and Department of Homeland Security,
Defendant then embarked and engaged in a relentless and ongoing
campaign of retaliation and reprisal against Plaintiff and her

husband in violation of 42 U.S.c. § 2000ee-1(e).

42 § 1983 CIVIL LIABILITY ISSUES

4, Pursuant to 42 § 1983, every person who, under color of any
statute, ordinance, regulation, custom, or usage, of any State or
Territory or the District of Columbia, subjects, or causes to be
subjected, any citizen of the United States or other person
within the jurisdiction thereof to the deprivation of any rights,
privileges, or immunities secured by the Constitution and laws,
shall be liable to the party injured in an action at law, suit in
equity, or other proper proceeding for redress, except that in
any action brought against a judicial officer for an act or
omission taken in such officer’s judicial capacity, injunctive
relief shall not be granted unless a declaratory decree was

violated or declaratory relief was unavailable;

5’. The Civil Rights Act of 1871 is a federal statute, numbered 42
U.S.C. § 1983, that allows people to sue the government for civil
rights violations. It applies when someone acting “under color
of” state-level or local law has deprived a person of rights

created by the U.S. Constitution or federal statutes;
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Courts have determined that the “under color of” clause requires
that the wrongdoer qualify, at least in some sense, as a
representative of the state when depriving the victim of civil
rights - in a nutshell, the clause refers to people who misuse

some kind of authority that they get from state law;

Police officers who use excessive force generally fit this bill;

Judges can consider a number of factors to decide whether, when
violating someone’s federal rights, an officer was acting under
the color of state law - among them are whether the officer: (a)
was on duty; (b) was wearing a police uniform; (c)used police
equipment (like a squad car or handcuffs); (d) flashed a badge or

otherwise claimed to be an officer, or (e) carried out an arrest;

When a Section 1983 suit has to do with an arrest — a central
police function — a court will normally consider the officer to

have acted under color of state law;

CRIMINAL ACTS

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Under the federal criminal code, Section 242 of Title 18 makes it
a crime for a person acting under color of any law to willfully
deprive a person of a right or privilege protected by the

Constitution or laws of the United States;
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For the purpose of Section 242, acts under "color of law" include
acts not only done by federal, state, or local officials within
their lawful authority, but also acts done beyond the bounds of
that official's lawful authority, if the acts are done while the
official is purporting to or pretending to act in the performance

of his/her official duties;

Persons acting under color of law within the meaning of this
statute include police officers, prisons guards and other law
enforcement officials, as well as judges, care providers in
public health facilities, and others who are acting as public

officials;

It is not necessary that the crime be motivated by animus toward
the race, color, religion, sex, handicap, familial status or

national origin of the victim;

The offense is punishable by a range of imprisonment up to a life
term, or the death penalty, depending upon the circumstances of

the crime, and the resulting injury, if any;

Title 18 U.S.C. § 242 states: “Whoever, under color of any law,
statute, ordinance, regulation, or custom, willfully subjects any
person in any State, Territory, Commonwealth, Possession, or

District to the deprivation of any rights, privileges, or

 
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immunities secured or protected by the Constitution or laws of
the United States...shall be fined under this title or imprisoned
not more than one year, or both; and if bodily injury results
from the acts committed in violation of this section or if such
acts include the use, attempted use, or threatened use of a
dangerous weapon, explosives, or fire, shall be fined under this
title or imprisoned not more than ten years, or both; and if
death results from the acts committed in violation of this
section or if such acts include kidnapping or an attempt to
kidnap, aggravated sexual abuse, or an attempt to commit
aggravated sexual abuse, or an attempt to kill, shall be fined
under this title, or imprisoned for any term of years or for

life, or both, or may be sentenced to death;”

-S. CODE § 2000EE-1. PRIVACY AND CIVIL LIBERTIES OFFICERS

Under 42 U.S. Code § 2000ee-1 dealing with privacy and civil
liberties officers, sub-section (e) pertaining to Reprisals For
Making A Complaint, “No action constituting a reprisal, or threat
of reprisal, for making a complaint or for disclosing information
to a privacy officer or civil liberties officer described in
subsection (a) or (b), or to the Privacy and Civil Liberties
Oversight Board, that indicates a possible violation of privacy
protections or civil liberties in the administration of the

programs and operations of the Federal Government relating to
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efforts to protect the Nation from terrorism shall be taken by
any Federal. employee in a position to take such action, unless
the complaint was made or the information was disclosed with the
knowledge that it was false or with willful disregard for its

truth or falsity.”

IMMIGRATION SERVICES OFFICER LEWIS

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On or about 10 PM on February 13, 2020, Plaintiff through her
immigration lawyer husband filed a formal complaint and request
for investigation with the civil rights divisions of the U.S.
Department of Justice and Department of Homeland Security into
the abusive behavior by Immigration Services Officer Lewis at
their marriage/greencard/adjustment of status interview on
February 13, 2020 at the New York USCIS Field Office located at

26 Federal Plaza, Room 7-700, New York NY 10278;

The complaint dated February 13, 2020 read in sum and substance:

“The worst part of the way both me and my wife were treated (I am
one of the top immigration lawyers in New York City and the
United States, having practiced Immigration Law for nearly 20
years since March 2002 in my own law practice on Wall Street, so
I obviously know what I am doing) was the way ISO Lewis, an

African-American woman, made subtly racist comments directed at
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my wife is who is white and Polish (and a high level
international fashion model), and at me, who is Indian-American,
while my young baby son Gabriel Manchanda, 6 months old, was
sitting on my wife’s lap during this ‘interview,’ which felt more
like a Gestapo or KGB interrogation than an immigration marriage

interview;

“This was coming on the heels of the New York DHS Field Office
making us wait, to be literally THE LAST PEOPLE TO BE INTERVIEWED
IN A ROOM OF 100s OF PEOPLE, even though we arrived on time at
1:42 PM for our 2 PM interview, only to be forced to sit and wait
until at least approximately 4:30 PM, with various DHS/USCIS
Officers floating around us, looking at us, making eye contact,
snickering behind our backs, making comments about me, my wife,
and my baby, hinting/insinuating/indicating how they were going
to screw me because I am a famous immigration lawyer who happens
to be a Trump supporter and conservative, mocking us here and
there while my 6 month old baby cried hysterically, we had to
change his pampers in the waiting facility, and other horrific

abuses;

When we finally were brought in for our ‘interview,’ ISO Lewis
constantly, in front of me and my baby son, insinuated that my
beautiful Polish wife was a prostitute, that I was marrying her

for fraudulent purposes, questioned the ‘bona fides’ of our
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marriage, mocked my profession as a leading New York City
immigration lawyer for the past 20 years who regularly appears on
FoxNews, CNN, CourtTV, MSNBC, I-24 News, Channel 2 News, Law &
Crime Network, having written and published 3 books about court
and government corruption (Deep State Defector i, Ll, and EEt},

and also write for nearly 10 online periodical newspapers;

“Even more grotesquely, ISO Lewis began to ... humiliatingly
asking my current wife Sylwia ... other ... comments that are
really none of her business, have nothing to do with our marriage

or her adjustment of status interview;

“We gave this ISO Lewis a ton of documents required under the
immigration laws, including everything that is statutorily
required, such as tax and financial information, lease documents,
birth/marriage certificates, but ISO Lewis essentially
‘poo-pooed’ all of this, basically ignored it, and instead chose
to insult, harass, and mock us and our baby son, making my

beautiful and decent Christian wife from Poland, tear up and cry;

“All ISO Lewis kept trying to do was trip us up, trap us, and

make us say something that wasn’t even true;

“The marriage immigration interview should be a pleasant

experience, welcoming a foreign national to the United States as
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a permanent resident, showing the good side of the United States,
not making my wife and baby cry with abuse, insults, mockery,
humiliation, racism, discrimination, intimidation, threats,

harassment, and fear;

“Having practiced immigration law for nearly 20 years in New York
City and throughout the United States and Consular outposts all
over the world, I have never seen such an ugly, egregious,
disturbing, flippantly biased, humiliating, and abusive interview

for my clients and others;

“And I certainly will not accept it for me, my beautiful wife,

and my beautiful baby son Gabriel;

“I need redress, justice, and a remedy now, otherwise I will be

pursuing federal court action and going to the newspapers;

“This is what is wrong with Socialism/Communism - giving one
human being with all of their inherent bias, racist feelings,
jealousy, arrogance and abuse of power, abuse of law and
authority to hurt and harm others, especially my baby son and
wife, and I will not allow this to stand - hence my complaint and

request for investigation to your office;

Plaintiff and her husband also reached out to several senators
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and congressmen relating to their experience with ISO Lewis and

other staff members of the New York DHS/USCIS Field Office;

REPRISALS AND RETALIATION FOR FILING COMPLAINT IN VIOLATION OF 42 USC
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§ 2000ee-1 (e)

31. Instead of addressing the issues involving abuse of power and
other problems in the interview, instead Immigration Services
Officer Lewis engaged in severe, relentless, and ongoing
reprisals and retaliation in response to the February 13, 2020

complaint.

32. Specifically, and to which we also reported to the same
departments handling our original complaint, my prominent
immigration lawyer husband practicing for nearly 20 years began
receiving weird "client inquiry/phone call" from a purported
“DHS/USCIS federal employee” saying that they were afraid of
"death" and "direct energy weapons" and other such disturbing
comments because she herself filed a complaint against another

DHS/USCIS employee;

33. We don't know if this person was a legitimate prospective client,
or a friend of the person that we complained about (ISO Lewis),

her representative, a private investigator, or what;
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All we know is that it thoroughly freaked us out, like a Ku Klux
Klan cross burning on our front yard, and we asked the agencies

to investigate it as a possible violation of federal law 42

U.S.C. § 2000ee-1(e);

Even worse, on or about February 27, 2020 we received in the
mail, ADDITIONAL retaliations/reprisals as prohibited by 42
U.S.C. § 2000ee-1(e), wherein as you know my husband is a
prominent immigration lawyer for nearly 20 years, and we received
a humiliating and insulting STOKES INTERVIEW NOTICE scheduled for
May 2020, whereby a husband and wife are separated for hours,
grilling the both of them because the "immigration officer," in
this case the racist African-American sociopath ISO Lewis,

suspects that our marriage is "not real;"

This after we have a 6 month old baby together, sitting on my
lap, staring at this evil woman, the entire time during the

marriage interview on February 13, 2020;

Even for my own husband’s immigration clients over the past
nearly 20 years, he has stated that he has rarely if ever
received such a weird "STOKES INTERVIEW NOTICE" as what we

received in the mail on 02/27/2020;

Even worse, it was apparently mailed 02/18/2020, 5 days after we
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made our original complaint, but apparently fraudulently
"post-dated" 02/14/2020, the day after we actually made our
original complaint, which was even more sickeningly, "Valentines

Day;"

39. This awful ISO Lewis even mailed it to our old address, probably
to get the notice lost, even though we changed our new apartment
address online officially several times with official
confirmation notices weeks/months prior, verbally told her our
new address in the interview, and gave her the official address

change confirmation notice in the interview, itself;

40. Again, we asked the U.S. Department of Justice and Department of
Homeland Security that all of this needs to be investigated as
another possible violation of federal law 42 U.S.C. §

2000ee-1(e);

AS AND FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANT
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41. Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 40 of this Complaint;

42. Therefore Plaintiff herein sues for actual and punitive damages
in the amount of $10,000,000 for gross and rampant violations of
42 § 1983 pertaining to a civil action for deprivation of rights

under the color of law and authority by
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government/judicial/public official defendants;

AS AND FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANTS

 

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Plaintiff repeats and realleges each and every allegation contained

in paragraphs 1 through 40 of this Complaint.

Therefore Plaintiff herein sues for actual and punitive damages in
the amount of $10,000,000 for gross and rampant violations of 42 USC
S 2000ee-1(e) dealing with Reprisals/Retaliation for filing a bona
fide legitimate complaint against federal Immigration Services
Officer Lewis and her cohorts/cronies at the DHS/USCIS New York Field

Office located at 26 Federal Plaza, Room 7-700, New York NY 10278;

such other and further relief as the Court deems just and proper,
including applicable interest, costs and disbursements of this

action.

Dated: New York, NY

February 28, 2020 Gulu HC guctea UUs

oyliwifa Ewelina Madey Manchanda
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